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                       UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF PENNSYLVANIA

MARY BRULO,

                     Plaintiff,
                                                       Case No.
v.

DEPARTMENT STORES NATIONAL BANK,

                     Defendant.
                                            /

                                  NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1441, and 1446,

defendant, Department Stores National Bank (“DSNB”), through undersigned counsel

and pursuant to 28 U.S.C. §§ 1331, 1441, and 1446 et seq., hereby removes this action

from the Luzerne County Court of Common Pleas, Commonwealth of Pennsylvania, to

the United States District Court for the Middle District of Pennsylvania. In support of

this Notice of Removal, DSNB states as follows:

      1.       On January 24, 2018, plaintiff, Mary Brulo (plaintiff), commenced a civil

action in the Luzerne County Court of Common Pleas, Commonwealth of Pennsylvania,

entitled and captioned Mary Brulo v. Department Stores National Bank, Case No.

201800827 (hereinafter the “State Court Action”). No further proceedings before the

State Court have occurred.

      2.       In the Complaint, plaintiff alleges statutory causes of action against DSNB

under the Telephone Consumer Protection Act (TCPA), 47 U.S.C. § 227, et seq. A true

and correct copy of plaintiff’s Complaint is attached hereto as Exhibit “A.” Therefore,


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this Court has jurisdiction over the State Court Action pursuant to 28 U.S.C. § 1331

because plaintiff’s Complaint alleges a cause of action arising under the laws of the

United States. Because plaintiff affirmatively alleges violations of the TCPA, the

Complaint asserts a federal question under 28 U.S.C. § 1331 and is removable pursuant

to 28 U.S.C. § 1441.

       3.       On January 29, 2018, DSNB was served with a copy of the Summons and

Complaint.

       4.       The time within which DSNB is required by the laws of the United States,

28 U.S.C. § 1446(b), to file this notice of removal has not yet expired. This Notice of

Removal is timely, having been filed within 30 days of the date on which DSNB was

served with plaintiff’s Complaint. See 28 U.S.C. § 1446.

       5.       The Luzerne County Court of Common Pleas, Commonwealth of

Pennsylvania is located within the United States District Court for the Middle District of

Pennsylvania. Therefore, venue for purposes of removal is proper pursuant to 28 U.S.C. §

89(b) because the United States District Court for the Middle District of Pennsylvania

embraces the place in which the removed action was pending. 28 U.S.C. § 1441(a).

       6.       Written notice of this Notice of Removal of this action is being

immediately provided to the Luzerne County Court of Common Pleas, Commonwealth of

Pennsylvania. See Exhibit “B” attached hereto.

       7.       Written notice of this Notice of Removal of this action is being caused to be

served on the plaintiff.




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       WHEREFORE, defendant, Department Stores National Bank, gives notice that

this action is removed from the Luzerne County Court of Common Pleas, to the United

States District Court for the Middle District of Pennsylvania.

Dated: February 28, 2018.

                                          Respectfully Submitted,

                                          s/Andrew J. Blady
                                          Andrew J. Blady, Esq.
                                          Sessions Fishman Nathan & Israel
                                          3682 Green Ridge Road
                                          Furlong, PA 18925
                                          Telephone: (267) 544-0840
                                          Facsimile: (267) 935-7382
                                          Email: ablady@sessions.legal

                                          Attorneys for Defendant,
                                          Department Stores National Bank


                                CERTIFICATE OF SERVICE

       I hereby certify that on February 28, 2018 a copy of the foregoing was served

electronically via CM/ECF on the following:

                                  Brett M. Freeman, Esq.
                                 Sabatini Law Firm, LLC
                                 216 North Blakely Street
                                   Dunmore, PA 18512


                                                 Andrew J. Blady
                                                      Attorney




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